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		OSCN Found Document:IN RE AMENDMENTS TO RULE 7.7 RULES GOVERNING DISCIPLINARY PROCEEDINGS

					

				
  



				
					
					
						
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				IN RE AMENDMENTS TO RULE 7.7 RULES GOVERNING DISCIPLINARY PROCEEDINGS2018 OK 50Decided: 06/18/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 50, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

In re: Amendments to Rule 7.7, Rules Governing Disciplinary Proceedings,
ORDER
Rule 7.7 of the Rules Governing Disciplinary Proceedings, is hereby amended as shown with the markup on the attached Exhibit "A." A clean copy of the new rule is attached as Exhibit "B." The amended rule is effective immediately. 
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE on June 18th, 2018.
/S/CHIEF JUSTICE 
ALL JUSTICES CONCUR. 

§7.7. Disciplinary Action in Other Jurisdictions, as Basis for Discipline.
(a) It is the duty of a lawyer licensed in Oklahoma to notify the General Counsel whenever discipline for lawyer misconduct has been imposed upon him/her in another jurisdiction, within twenty (20) days of the final order of discipline, and failure to report shall itself be grounds for discipline.
(b) When a lawyer has been adjudged guilty of misconduct is the subject of a final adjudication in a disciplinary proceeding, except contempt proceedings, by the highest court of another State or by a Federal Court in any other jurisdiction, the General Counsel of the Oklahoma Bar Association shall cause to be transmitted to the Chief Justice a certified copy of such adjudication within five (5) days of receiving such documents. The Chief Justice shall direct the lawyer to appear before the Supreme Court at a time certain, not less than ten (10) days after mailing of notice, and show cause, if any he/she has, why he/she should not be disciplined show cause in writing why a final order of discipline should not be made. A written response from the lawyer shall be verified and expressly state whether a hearing is desired. The lawyer may in the interest of explaining his or her conduct, or by way of mitigating the discipline to be imposed upon him or her, submit a brief and/or any evidence tending to mitigate the severity of discipline. The documents shall constitute the charge and shall be prima facie evidence the lawyer committed the acts therein described. The lawyer may submit a certified copy of any transcripts of the evidence taken during disciplinary proceedings in the trial tribunal of the other jurisdiction to support his/her claim that the finding therein was not supported by the evidence or that it does not furnish sufficient grounds for discipline in Oklahoma. The General Counsel may respond by submission of a brief and/or any evidence supporting a recommendation of discipline.
(c) Certified copies of the documents shall constitute the charge and shall be prima facie evidence the lawyer committed the acts therein described. 
(d) The Oklahoma Supreme Court may refer the matter for additional evidentiary hearing(s) before the Professional Responsibility Tribunal if the Court deems such hearing(s) necessary.

§7.7. Disciplinary Action in Other Jurisdictions, as Basis for Discipline.
(a) It is the duty of a lawyer licensed in Oklahoma to notify the General Counsel whenever discipline for lawyer misconduct has been imposed upon him/her in another jurisdiction, within twenty (20) days of the final order of discipline, and failure to report shall itself be grounds for discipline.
(b) When a lawyer is the subject of a final adjudication in a disciplinary proceeding, except contempt proceedings, in any other jurisdiction, the General Counsel of the Oklahoma Bar Association shall cause to be transmitted to the Chief Justice a certified copy of such adjudication within five (5) days of receiving such documents. The Chief Justice shall direct the lawyer to show cause in writing why a final order of discipline should not be made. A written response from the lawyer shall be verified and expressly state whether a hearing is desired. The lawyer may in the interest of explaining his or her conduct, or by way of mitigating the discipline to be imposed upon him or her, submit a brief and/or any evidence tending to mitigate the severity of discipline. The lawyer may submit a certified copy of any transcripts of the evidence taken during disciplinary proceedings in the other jurisdiction to support his/her claim that the finding therein was not supported by the evidence or that it does not furnish sufficient grounds for discipline in Oklahoma. The General Counsel may respond by submission of a brief and/or any evidence supporting a recommendation of discipline.
(c) Certified copies of the documents shall constitute the charge and shall be prima facie evidence the lawyer committed the acts therein described. 
(d) The Oklahoma Supreme Court may refer the matter for additional evidentiary hearing(s) before the Professional Responsibility Tribunal if the Court deems such hearing(s) necessary.





	Citationizer© Summary of Documents Citing This Document
	
	
		
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	Title 5. Attorneys and the State Bar
&nbsp;CiteNameLevel

&nbsp;5 O.S. Sec 7.7, Disciplinary Action in Other Jurisdictions, As Basis for DisciplineCited


	
	
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	None Found.
	
	








				
					
					
				

		
		

	
		
			
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